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 9   FORREST DAVID MILDER                          SERVICES, INC., a California
                                                   corporation
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11
                            UNITED STATES DISTRICT COURT
12
                          CENTRAL DISTRICT OF CALIFORNIA
13

14   SOLARMORE MANAGEMENT                          Case No. 2:20-cv-10111-CAS (JEMx)
     SERVICES, INC., a California
15   corporation; CARL AND BARBARA                 JOINT STIPULATION TO EXTEND
     JANSEN, a married couple,                     TIME TO RESPOND TO INITIAL
16                                                 COMPLAINT BY NOT MORE THAN
                        Plaintiffs,                30 DAYS (L.R. 8-3)
17
           v.                                      Complaint Served: October 5, 2020
18                                                 Current Response Date: November 11,
     NIXON PEABODY, LLP, a New York                2020
19   limited liability partnership; FORREST        New Response Date: December 11, 2020
     DAVID MILDER, a married individual,
20
                        Defendants.                Ctrm: 8D
21                                                 Judge: Honorable Christina A. Snyder
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                JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
                                BY NOT MORE THAN 30 DAYS (L.R. 8-3)
                                             Case No.
     1528396
 1             Pursuant to Local Rule 8-3, Plaintiffs Solarmore Management and Carl and
 2   Barbara Jansen (“Plaintiffs”) and Defendants Nixon Peabody and Forrest Milder
 3   (“Defendants”) hereby stipulate that Defendants deadline to respond to the
 4   complaint is extended to and including December 11, 2020.
 5             Pursuant to Local Rule 5-4.3.4, undersigned counsel for Defendants attests
 6   that all other signatories to this Stipulation concur in the filing’s contents and
 7   authorize the filing.
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11   Dated: November 6, 2020                  KEKER, VAN NEST & PETERS LLP
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13
                                         By: s/ Eric H. MacMichael
14                                           ELLIOT R. PETERS
                                             ERIC H. MACMICHAEL
15                                           BAILEY W. HEAPS
                                             DEEVA SHAH
16
                                              Attorneys for Defendants
17                                            NIXON PEABODY, LLP and
                                              FORREST DAVID MILDER
18

19   Dated: November 6, 2020                  WILENCHIK & BARTNESS, APC
20                                            KING, HOLMES, PATERNO & SORIANO,
                                              LLP
21

22
                                         By: s/Brian J. Foster
23                                           BRIAN J. FOSTER
                                             ROSS P. MEYER
24
                                              Attorneys for Plaintiff
25                                            SOLARMORE MANAGEMENT
                                              SERVICES, INC. and
26                                            CARL and BARBARA JANSEN
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                                                 2
                  JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
                                  BY NOT MORE THAN 30 DAYS (L.R. 8-3)
                                               Case No.
     1528396
 1                                         PROOF OF SERVICE
 2   I am employed in the City and County of San Francisco, State of California in the office of a
     member of the bar of this court at whose direction the following service was made. I am over the
 3
     age of eighteen years and not a party to the within action. My business address is Keker, Van
 4   Nest & Peters LLP, 633 Battery Street, San Francisco, CA 94111-1809.

 5   On November 6, 2020, I served the following document(s):

 6        JOINT STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL
                COMPLAINT BY NOT MORE THAN 30 DAYS (L.R. 8-3)
 7
       by regular UNITED STATES MAIL by placing a copy in a sealed envelope addressed as
 8      shown below. I am readily familiar with the practice of Keker, Van Nest & Peters LLP for
 9      collection and processing of correspondence for mailing. According to that practice, items
        are deposited with the United States Postal Service at San Francisco, California on that
10      same day with postage thereon fully prepaid. I am aware that, on motion of the party
        served, service is presumed invalid if the postal cancellation date or the postage meter date
11      is more than one day after the date of deposit for mailing stated in this affidavit. AND
12     by E-MAIL VIA PDF FILE, by transmitting on this date via e-mail a true and correct
13      copy scanned into an electronic file in Adobe “pdf” format. The transmission was reported
        as complete and without error.
14
      Howard King                                          Email:        JSnow@khpslaw.com
15    John Snow
      King, Holmes, Paterno & Soriano, LLP
16    1900 Avenue of the Stars, 25th Floor
17    Los Angeles, CA 90067

18    Brian J. Foster                                      Email:        admin@wb-law.com
      Ross P. Meyer                                                      bfoster@wb-law.com
19    Wilenchik & Bartness                                               rossm@wb-law.com
      The Wilenchik & Bartness Building
20    2810 N. Third Street
21    Phoenix, AZ 85004

22
     Executed on November 6, 2020, at San Francisco, California.
23
     I declare under penalty of perjury under the laws of the State of California that the above is true
24   and correct.
25

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27                                                 Dori Chan

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                                                       1
                                              PROOF OF SERVICE
     1525536
